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                                                                                 CANYON CLUB HOLDINGS, LLC; CHESAPEAKE
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                                                                                 CENTRAL PARK APARTMENTS, LLC; CREEKSIDE
                                                                             9   HOLDINGS, LTD; HERITAGE PARK APARTMENTS,
                                                                                 LP; PEPPERTREE APARTMENT HOLDINGS, LP;
                                                                            10   RIVER OAKS HOLDINGS, LLC; SHADOW WAY
                                                                                 APARTMENTS, LP; WASATCH ADVANTAGE GROUP,
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                                                                            11   LLC; WASATCH PREMIER PROPERTIES, LLC;
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                                                                            12   HOLDINGS, LLC; WASATCH POOL HOLDINGS III,
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                                                                                                                UNITED STATES DISTRICT COURT
                                                                            14                                 EASTERN DISTRICT OF CALIFORNIA
                                                                            15                                      SACRAMENTO DIVISION

                                                                            16   UNITED STATES OF AMERICA, ex rel.                    Case No.: 2:15-CV-00799-KJM-DB
                                                                                 DENIKA TERRY, ROY HUSKEY III, and
                                                                            17   TAMERA LIVINGSTON, and each of them for              CLASS ACTION
                                                                                 themselves individually, and for all other persons
                                                                            18   similarly situated and on behalf of the UNITED       OWNER AND NON-OWNER
                                                                                 STATES OF AMERICA                                    DEFENDANTS’ OPPOSITION TO
                                                                            19                                                        RELATORS’ MOTION IN LIMINE NO. 1
                                                                                        Plaintiffs/Relators,                          TO EXCLUDE EVIDENCE AND
                                                                            20                                                        ARGUMENT CONTRARY TO THE
                                                                                 vs.                                                  COURT’S SUMMARY JUDGMENT
                                                                            21                                                        FINDINGS
                                                                                 WASATCH ADVANTAGE GROUP, LLC,
                                                                            22   WASATCH PROPERTY MANAGEMENT,
                                                                                 INC., WASATCH POOL HOLDINGS, LLC,                    Date: July 12, 2024
                                                                            23   CHESAPEAKE APARTMENT HOLDINGS,                       Time: 10:00 AM
                                                                                 LLC, LOGAN PARK APARTMENTS, LLC,                     Dept: Courtroom 3, 15th Floor
                                                                            24   LOGAN PARK APARTMENTS, LP, ASPEN                     Before: Hon. Kimberly J. Mueller
                                                                                 PARK HOLDINGS, LLC, BELLWOOD
                                                                            25   JERRON HOLDINGS, LLC, BELLWOOD                       Trial Date:   July 30, 2024
                                                                                 JERRON APARTMENTS, LP, BENT TREE
                                                                            26   APARTMENTS, LLC, CALIFORNIA PLACE
                                                                                 APARTMENTS, LLC, CAMELOT LAKES
                                                                            27   HOLDINGS, LLC, CANYON CLUB
                                                                                 HOLDINGS, LLC, COURTYARD AT
                                                                            28   CENTRAL PARK APARTMENTS, LLC,
                                                                                 CREEKSIDE HOLDINGS, LTD, HAYWARD
                                                                                 Case 2:15-cv-00799-KJM-DB Document 455 Filed 06/21/24 Page 2 of 7


                                                                             1   SENIOR APARTMENTS, LP, HERITAGE
                                                                                 PARK APARTMENTS, LP, OAK VALLEY
                                                                             2   APARTMENTS, LLC, OAK VALLEY
                                                                                 HOLDINGS, LP, PEPPERTREE APARTMENT
                                                                             3   HOLDINGS, LP, PIEDMONT APARTMENTS,
                                                                                 LP, POINT NATOMAS APARTMENTS, LLC,
                                                                             4   POINT NATOMAS APARTMENTS, LP,
                                                                                 RIVER OAKS HOLDINGS, LLC, SHADOW
                                                                             5   WAY APARTMENTS, LP, SPRING VILLA
                                                                                 APARTMENTS, LP, SUN VALLEY
                                                                             6   HOLDINGS, LTD, VILLAGE GROVE
                                                                                 APARTMENTS, LP, WASATCH QUAIL RUN
                                                                             7   GP, LLC, WASATCH PREMIER
                                                                                 PROPERTIES, LLC, WASATCH POOL
                                                                             8   HOLDINGS III, LLC,
                                                                                 and DOES 1-4,
                                                                             9
                                                                                      Defendants.
                                                                            10
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                                                                                           OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 1
                                                                                 Case 2:15-cv-00799-KJM-DB Document 455 Filed 06/21/24 Page 3 of 7


                                                                             1   DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 1
                                                                             2          Relators’ motion in limine No. 1 to exclude evidence or argument contrary to the Court’s
                                                                             3   summary judgment findings should be denied because it is a clear attempt from Relators to shortcut
                                                                             4   their burden of proof at trial and prevent Defendants from defending against unproven False Claims
                                                                             5   Act (“FCA”) allegations, as is their right. In their bid to keep the jury from hearing relevant evidence
                                                                             6   that contradicts their case, Relators invoke Fed. R. Civ. P. 56(a) which they note “allows parties to
                                                                             7   move for summary judgment on ‘part of [a] claim or defense.’” (ECF 412 at 4.) But Relators’ ignore
                                                                             8   the fact that they did not seek summary judgment, and the Court did not rule, on their FCA claim,
                                                                             9   any of the elements to the FCA, or on any affirmative defenses to the FCA. (the “SJ Order,” ECF
                                                                            10   278 at 6, n.2, 17, n.4.)1 Accordingly, the Court’s partial summary judgment order expressly did not
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                                                                            11   rule on Relators’ FCA claim. (Id.)
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                                                                            12          Relators’ FCA claim, unlike the private state law claims, which focus on the legal and
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                                                                            13   contractual relationships between landlords and tenants under state law, is brought on behalf of the
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                                                                            14   United States government and focuses on whether claims submitted to the government for payment
                                                                            15   under the federal HCV program were false. “The False Claims Act is not an all-purpose antifraud
                                                                            16   statute or a vehicle for punishing garden-variety breaches of contract or regulatory violations.” Univ.
                                                                            17   Health Servs., Inc. v. U.S., 579 U.S. 176, 193 (2016) (cit. and quot. marks omitted). An FCA claim
                                                                            18   turns on whether the claim for payment was false, whether the falsity was material to the
                                                                            19   government’s decision to pay the claim, and whether the claimant knew that the false certification
                                                                            20   in the claim was material to the decision to pay the claim. Defendants intend to offer at trial,
                                                                            21   substantial evidence that Relators allegations fail to meet and/or satisfy each of these statutorily-
                                                                            22   required elements in the FCA.
                                                                            23

                                                                            24
                                                                                 1
                                                                            25     For these reasons, the SJ Order is not relevant to any issue remaining in the case and evidence
                                                                                 about it should be excluded because it poses “significant risk of confusing the jury and unfairly
                                                                            26   prejudicing Defendant[s] due to the differing legal standards at issue in the claims decided on
                                                                                 summary judgment and those which remain to be decided by the jury.” S.E.C. v. Retail Pro., Inc.,
                                                                            27   No. 08cv1620-WQH-RBB, 2011 WL 589828, at *3 (S.D. Cal. Feb. 10, 2011). (Owner and Non-
                                                                            28   Owner Defendants’ Motion in Limine No. 2 to Exclude Evidence Related to the Court’s Partial
                                                                                 Summary Judgment Order, ECF 405 at 3-6.)
                                                                                                                                   1
                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 1
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                                                                             1          Upon Defendants’ motion for partial summary judgment, the SJ Order considered some of
                                                                             2   this evidence and determined that Plaintiffs had enough contrary evidence and inferences to offer
                                                                             3   that the jury should weigh the competing evidence and decide the issues for itself. (SJ Order at 16-
                                                                             4   17.) The Court did not rule that this evidence was irrelevant, or that it was not probative of the
                                                                             5   elements of Relators’ FCA claim in light of its rulings on Plaintiffs state law claims. To the contrary,
                                                                             6   the very same SJ Order that Relators claim precludes Defendants from offering evidence
                                                                             7   contradicting Relators’ evidence of falsity, materiality, and scienter expressly states that “there
                                                                             8   exists a dispute of material fact as to whether defendants made false statements or engaged in a
                                                                             9   fraudulent course of conduct by certifying they complied with regulations and HAP contract
                                                                            10   provisions, specifically the prohibition on accepting ‘payments or other consideration’ beyond the
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                                                                            11   agreed-upon rent.” (Id. at 17.)
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                                                                            12          Notwithstanding the Court’s express conclusion that these issues were in dispute, Relators
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                                                                            13   now ask the Court to instruct the jury “that the element of falsity has been satisfied.” (ECF 412 at
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                                                                            14   5.) Relators also seek to preclude the jury from considering “[a]ny testimony or other evidence
                                                                            15   calling into question whether the charges are in fact a violation of the HAP Contract and federal
                                                                            16   law, or any argument to the same effect.” (ECF 412 at 4 (emphasis added).) This would include any
                                                                            17   evidence about Defendants’ disclosure of the allegedly violative conduct to the PHAs who
                                                                            18   administer the HCV program and those PHAs’ actions in the face of such knowledge, as well as
                                                                            19   expert testimony regarding the HCV requirements. (ECF 412 at 6-7.)
                                                                            20          Evidence of the WPM’s and government payors’ understanding of the HCV requirements
                                                                            21   and the relationship of those requirements to payment of claims is, of course, highly relevant to the
                                                                            22   FCA elements of falsity, materiality, and scienter. Further, those elements, focused as they are on
                                                                            23   Defendants’ and government payors’ understandings of the relevant rules and their implications for
                                                                            24   payments of claims, are entirely distinct from Plaintiffs’ state law claims. Even Relators’ leading
                                                                            25   case specified that it would not “preclude the parties from, inter alia, presenting admissible
                                                                            26   testimony and evidence regarding their understanding of what the APA meant by ‘Buyer’s historical
                                                                            27   reporting practices’ or whether the $125,000 deduction . . . was in compliance with the APA.”
                                                                            28   Miranda v. U.S. Security Assocs., Inc., Case No. 18-CV-00734-LHK at *4 (N.D. Cal. July 8, 2019).
                                                                                                                                   2
                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 1
                                                                                 Case 2:15-cv-00799-KJM-DB Document 455 Filed 06/21/24 Page 5 of 7


                                                                             1   The elements of falsity, materiality, and scienter focus on the relevant parties’ understanding of the
                                                                             2   regulatory requirements and their relationship to claims and payments. Relators’ explicitly argued
                                                                             3   at summary judgment that triable issues of fact remained on their FCA claim (SJ Order at 6 n.2), yet
                                                                             4   with this motion, Relators now seek to stretch the Court’s summary judgment ruling to preclude
                                                                             5   evidence and testimony on issues that Relators’ did not seek summary judgment in order to
                                                                             6   improperly shortcut their burden of proof to the jury at trial.
                                                                             7          In the Phase 1 proceeding, the issue will be whether WPM submitted false claims that were
                                                                             8   material to the government’s payment decision with the requisite scienter—all of which focus on
                                                                             9   WPM’s and government payors’ understandings, which the Court expressly did not decide in the SJ
                                                                            10   Order. As a result, Relators cannot preclude testimony from PHA witnesses, or any other relevant
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                                                                            11   defense witness, who will testify to the policies and practices of the relevant PHAs and the
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                                                                            12   requirements of the HCV program. In fact, under the false certification theory of liability, Relators
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                                                                            13   must prove to the jury that WPM knowingly failed to comply with the statutory and regulatory
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                                                                            14   requirements governing the HCV program. Relators have put these statutes and regulations directly
                                                                            15   at issue by bringing this action, and to preclude Defendants from introducing testimony regarding
                                                                            16   these rules and regulations would violate their right to defend themselves. It should come as no
                                                                            17   surprise to Relators that Defendants dispute their allegations and Relators cannot now seek shortcuts
                                                                            18   to limit their burden of proof at trial by artificially limiting the facts before the jury to those facts
                                                                            19   that suit the Relators’ case. If Relators did not want their FCA claim decided by a jury, they should
                                                                            20   have, and could have, moved for summary judgment; however, Relators chose not to do so. As a
                                                                            21   result, Relators cannot now shoehorn summary judgment findings on other claims, which are distinct
                                                                            22   from the FCA claims, to prevent Defendants from putting forth a full defense in front of the jury, as
                                                                            23   is Defendants’ right.
                                                                            24          In their bid to prevent the jury from hearing relevant evidence about the meaning of the HCV
                                                                            25   requirements and their relationship to eligibility for government payment, Relators assert that the
                                                                            26   Supreme Court’s holding in U.S. ex rel. Schutte v. Supervalu Inc., 598 U.S. 739 (2023), means that,
                                                                            27   before a defendant may challenge scienter, it must first lay a “foundation establishing that the
                                                                            28   witness held the belief during the time false claims were being submitted.” (ECF 412 at 5-6.) That
                                                                                                                                   3
                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 1
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                                                                             1   was not the Court’s holding. The Court held that where the government (or a relator) offered
                                                                             2   evidence that the defendant subjectively knew that its conduct violated a requirement that would
                                                                             3   disqualify it from receiving payment, an ambiguity in the requirement would not preclude a finding
                                                                             4   of scienter based on the defendant’s subjective belief that its actions disqualified it from payment.
                                                                             5   Supervalu, 598 U.S. at 757. Thus, as it relates to scienter, the threshold question is whether there is
                                                                             6   evidence that the defendant subjectively believed that its conduct disqualified it from payment. Id.
                                                                             7   Relators point to no such evidence. Instead, in the absence of such subjective knowledge, they invert
                                                                             8   the analysis to require that, before a defendant may challenge scienter—including by pointing to
                                                                             9   language in the rules and actions by that PHAs supporting its subjective belief that it was acting
                                                                            10   legally—it must first lay a “foundation establishing that the witness held the belief during the time
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                                                                            11   false claims were being submitted.” (ECF 412 at 5.) Nothing in Supervalu supports Relators’
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                                                                            12   invitation to presume scienter and to reject any evidence contrary to scienter unless and until a
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                                                                            13   defendant can prove that it had considered such evidence before a claim was submitted.
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                                                                            14          In short, to avoid dealing with clear evidence of a lack of falsity, materiality, and scienter,
                                                                            15   Relators seek to deprive the jury of this evidence altogether and even to obtain an instruction that
                                                                            16   the element of falsity has been satisfied, thus, effectively and improperly converting their motion in
                                                                            17   limine into a belated motion for summary judgment on the FCA. See Mims v. Fed. Express Corp.,
                                                                            18   Case No.: CV 13-03947-AB (SSx), 2015 WL 12711651, *3 (C.D. Cal. Jan. 15, 2015) (“[A] motion
                                                                            19   in limine is not a substitute for summary judgment and is not the appropriate venue to determine
                                                                            20   whether [the defendant] has sufficient evidence to succeed on its defense.”); Enterpr. Mgmt. Ltd.,
                                                                            21   Inc. v. Construx Software Builders, Inc., Case No. 2:19-CV-1458-DWC, 2021 WL 12256389 at *5
                                                                            22   (W.D. Wash. Nov. 19, 2021) (where court determined on summary judgment there was a genuine
                                                                            23   issue of material fact to preclude summary judgment precluding argument and evidence on that
                                                                            24   subject would amount to “relitigat[ing] a motion for summary judgment during a motion in limine”;
                                                                            25   “this issue is better decided during the trial where [moving party] may object to argument . . . that,
                                                                            26   for instance, misstates the law”).
                                                                            27          Relators are required to prove every element of their FCA claim, and Defendants are entitled
                                                                            28   to present evidence rebutting those elements. Defendants should not be precluded from putting on
                                                                                                                                   4
                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 1
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                                                                             1   admissible evidence of the Defendants’ and the PHAs’ understanding of what was required of
                                                                             2   owners under the relevant HCV requirements in order to receive rent subsidies for HCV tenants.
                                                                             3   Mims, 2015 WL 12711651 at *1 (“Although district courts have broad discretion in ruling on
                                                                             4   motions in limine, courts must be careful not to use them to resolve factual disputes or to weigh
                                                                             5   evidence.”)(citing Jones, et al., Rutter Group Prac. Guide Fed. Civ. Trials & Evid., ¶ 4:345 (The
                                                                             6   Rutter Group, 2006) (“Motions in limine may not be used, however, as a disguise for a motion for
                                                                             7   summary judgment or to dismiss.”).)
                                                                             8

                                                                             9    Dated: June 21, 2024                         ARNALL GOLDEN GREGORY LLP
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                                                                            11                                                 By: /s/ Richard T. Collins
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                                                                                              OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 1
